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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,

                                                                  17-CR-162V
              -v-

DARIUS DIX,

                Defendant.
___________________________________



                                 DECISION AND ORDER

              This case was referred to the undersigned by the Hon. Lawrence J.

Vilardo, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear

and report on dispositive motions.



                               PRELIMINARY STATEMENT

              The defendant, Darius Dix (“the defendant”), is charged, along with four

   other co-defendants, with having violated Title 21 U.S.C. § 846. Dkt. #1. He has

   filed an omnibus discovery motion wherein he seeks: (1) severance from his co-

   defendants; (2) exclusion at trial of statements made by “non-testifying co-

   conspirators;” (3) a bill of particulars; (4) “revelation of identity of informants;”

   (5) production of Rule 16 materials; (6) production and disclosure of Brady, Giglio

   and Jencks materials; (7) “disclosure of evidence pursuant to Rules 404(b), 608 and

   609 F.R.E.;” (8) preservation of rough notes and other evidence; (9) production of

   grand jury transcripts; (10) to join in co-defendants’ motions; (11) permission to voir
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   dire government experts outside the presence of the jury; (12) an audibility hearing;

   (13) permission to make other motions. Dkt. #32.



               The government has filed its response to the defendant’s demands and

   has made a demand for reciprocal discovery pursuant to Rule 16(b) F. R. Crim. P.

   Dkt. #40.



                         DISCUSSION AND ANALYSIS



               1.     Defendant’s Motion for a Severance

               This motion is denied without prejudice by this Court since this is a motion

that must be made to the trial judge assigned to this case.




               2.     Exclusion at Trial of Statements Made by Non-Testifying Co-
                      Conspirators
               This request is a matter for the trial judge assigned to this case since it

seeks a ruling on admission of evidence at trial and therefore the defendant’s motion is

DENIED by this Court without prejudice to renew it before the trial judge assigned to this

case




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              3.      Defendant’s Demand for a Bill of Particulars


              The defendant’s request is DENIED. It has become axiomatic that the

function of a bill of particulars is to apprise a defendant of the essential facts of the

crime for which he has been charged. United States v. Salazar, 485 F.2d 1272, 1277-

78 (2d Cir. 1973); cert. denied, 415 U.S. 985 (1974); Wong Tai v. United States, 273

U.S. 77 (1927). The charge in Count 1 of the Indictment, along with the discovery

materials provided or to be provided by the government as aforesaid, clearly inform the

defendant of the essential facts of the crime charged. As a result, the defendant is not

entitled to, nor is he in need of, the “particulars” being sought for that purpose.




              “A bill of particulars should be required only where the
              charges of the indictment are so general that they do not
              advise the defendant of the specific acts of which he is
              accused.” United States v. Feola, 651 F. Supp. 1068, 1132
              (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.) (mem.), cert.
              denied, ____ U.S. ____, 110 S.Ct. 110, 107 L.Ed.2d 72
              (1989); see also United States v. Leonelli, 428 F. Supp. 880,
              882 (S.D.N.Y. 1977). “Whether to grant a bill of particulars
              rests within the sound discretion of the district court.” United
              States v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984) (citing
              United States v. Burgin, 621 F.2d 1352, 1358-59 (5th Cir.),
              cert. denied, 449 U.S. 1015, 101 S.Ct. 574, 66 L.Ed.2d 474
              (1980)); see also Bortnovsky, 820 F.2d at 574. “Acquisition
              of evidentiary detail is not the function of the bill of
              particulars.” Hemphill v. United States, 392 F.2d 45, 49 (8th
              Cir.), cert. denied, 393 U.S. 877, 89 S.Ct. 176, 21 L.Ed.2d
              149 (1968).



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United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir. 2004); United States v. Porter, 2007 WL 4103679 (2d

Cir. 2007).




              4.     Revelation of Identity of Informants


              The defendant requests that the government be directed to identify all

informants on whom the government has relied or will rely in any way in its investigation

and/or prosecution of this case and disclosure of information received from informants.

However, the defendant has failed to sufficiently state a basis for requiring the

disclosure of this information or “that the testimony of the informant would [be] of even

marginal value to the defendant’s case.” As a result, the holding of the Court of Appeals

for the Second Circuit in United States v. Saa, 859 F.2d 1067 (2d Cir. 1988), cert.

denied, 489 U.S. 1089 (1989), is dispositive of this request by the defendant wherein

the Court stated:


              The leading Supreme Court case on this question,
              Roviaro v. United States, 353 U.S. 53, 77 S.Ct. 623,
              1L.Ed.2d 639 (1957), holds that

                     [w]here the disclosure of an informant’s
                     identity, or of the contents of his
                     communication, is relevant and helpful to the
                     defense of an accused, or is essential to the
                     fair determination of a cause, the [informant’s]
                     privilege must give way.

              353 U.S. at 60-61, 77 S.Ct. at 628. The Court explained that
              “no fixed rule with respect to disclosure is justifiable.” Id. at
              62, 77 S.Ct. at 628. What is required is “balancing the public
              interest in protecting the flow of information against the
              individual’s right to prepare his defense.” Id. Whether non-
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             disclosure is erroneous “must depend on the particular
             circumstances of each case, taking into consideration the
             crime charged, the possible defenses, the possible
             significance of the informer’s testimony, and other relevant
             factors.” Id. See Rugendorf v. United States, 376 U.S. 528,
             534-35, 84 S.Ct. 825, 829, 11 L.Ed.2d 887 (1964); United
             States v. Lilla, 699 F.2d 99, 105 (2d Cir. 1983); United
             States v. Ortega, 471 F.2d 1350, 1359 (2d Cir. 1972), cert.
             denied, 411 U.S. 948, 93 S.Ct. 1924, 36 L.Ed.2d 409 (1973).

             The defendant is generally able to establish a right to
             disclosure “where the informant is a key witness or
             participant in the crime charged, someone whose testimony
             would be significant in determining guilt or innocence.”
             United States v. Russotti, 746 F.2d 945, 950 (2d Cir. 1984);
             United States v. Roberts, 388 F.2d 646, 648-49 (2d Cir.
             1968); see United States v. Price, 783 F.2d 1132 (4th Cir.
             1986); United States v. Barnes, 486 F.2d 776 (8th Cir. 1973).
             In Roberts, the informant introduced an undercover agent to
             the defendant and was present when the defendant and the
             agent negotiated and transacted two sales of heroin. The
             Court, noting that the informant was “present during all the
             significant events,” 388 F.2d at 649, found that he was
             “obviously a crucial witness to the alleged narcotics
             transactions,” id., and therefore, his whereabouts should
             have been revealed to the defense if properly requested.
             But disclosure of the identify or address of a confidential
             informant is not required unless the informant’s testimony is
             shown to be material to the defense. See United States v.
             Valenzuela-Bernal, 458 U.S. 858, 870-81, 102 S.Ct. 3440,
             3448, 73 L.Ed.2d 1193 (1982) (dictum); United States v. Lila,
             699 F.2d at 105. As this Court’s recent opinion in United
             States v. Jiminez, 789 F.2d 167 (2d Cir. 1986) makes clear,
             it is not sufficient to show that the informant was a participant
             in and witness to the crime charged. In Jimenez, the
             informant was both participant and witness, but the district
             court’s refusal to order disclosure of his identity was upheld
             on the ground that the defendant had failed to show that the
             testimony of the informant “would have been of even
             marginal value to the defendant’s case. 789 F.2d at 170.”

Id. at 1073; see also United States v. Fields, 113 F.3d 313, 324 (2d Cir. 1997).




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              Since the defendant has not made a sufficient showing that any

informant’s potential testimony is material to his defense, this request is DENIED.




              5.     Production of Rule 16 Materials


              The government represents that it has complied with its requirements

under Rule 16 of the F. R. Crim. P. and that “it will continue to comply with its continuing

duties to disclose set forth in Rule 16(c).” Dkt. #40, pp. 6-7. Based on this

representation, the defendant’s motion is DENIED as being moot.




              6.     Production and Disclosure of Brady, Giglio and Jencks
                     Materials
              The defendant has made a broad request for any and all materials and/or

information, including a culling of government agent personnel files, that would be

“exculpatory” to the defendant which the Court interprets as a broad request for “Brady,”

“Giglio” and “Jencks” materials as the defendant has used those labels in his motion.



              The government has acknowledged its responsibility under Brady v.

Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972) and

subsequent cases. The government has also represented that it will comply with the

requirements of 18 U.S.C. § 3500 with respect to production of statements of witnesses

called to testify at trial. As a result of these representations, the defendant’s request for

such materials, i.e., Brady, Giglio and Jencks is DENIED, but the government is hereby


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directed to comply with the Second Circuit Court of Appeals’ holding in United States v.

Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v. Rodriguez, 496 F.3d 221 (2d

Cir. 2007) by making timely disclosure of those materials to the defendant.



              “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

Coppa at 146. The prosecution is obligated to disclose and turn over Brady material to

the defense “in time for its effective use.” Coppa at 144. With respect to impeachment

material that does not rise to the level of being Brady material, such as Jencks

statements, the prosecution is not required to disclose and turn over such statements

until after the witness has completed his direct testimony. See 18 U.S.C. § 3500; Rule

26.2 Fed.R.Crim.P.; In Re United States, 834 F.2d 283 (2d Cir. 1987). However, if the

government has adopted a policy of turning such materials over to the defendant prior

to trial, the government shall comply with that policy; or in the alternative, produce such

materials in accordance with the scheduling order issued by the trial judge.



              7.     Disclosure of Evidence Pursuant to Rules 404(b), 608 and 609

              The government has stated that “it intends to use the criminal history of

the defendant to the extent permitted by Rule 609 of the F.R.E. to impeach the

defendant should he testify at trial” and that it “intends to use evidence of defendant’s

prior involvement in the distribution of controlled substances including his prior

conviction, as evidence pursuant to Rule 404(b).” The government further advises that

the defendant “will be notified of such intention and the particulars of such information at



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such time as the government files its pretrial memorandum with the District Court.”

(Docket #46, ¶ 7).



               Rule 404(b) F.R.E. only requires that “the prosecution . . . provide

reasonable notice in advance of trial . . . of the general nature of any such evidence it

intends to introduce at trial” (emphasis added). This has been done, and as a result,

defendant’s request on this issue is DENIED as being moot.



               The issue of admissibility of such evidence, as raised in the defendant’s

request, pursuant to Rules 404(b), 608 and 609 FRE is best left to the determination of

the trial judge at the time of trial.


               Rule 608 F.R.E. does not contain a required pretrial notice as set forth in

Rule 404(b). Therefore, there is no requirement on the part of the government to make

any disclosure of evidence, or its intent to use evidence at the trial pursuant to Rule 608

at this time. Therefore, defendant’s request in this regard is DENIED.



               8.      Preservation of Rough Notes

               It appears that the defendant is attempting to have all potential Jencks

materials preserved. The express admonition of the Court of Appeals for the Second

Circuit bears repeating in addressing this particular request of the defendant wherein

the Court stated:




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              [W]e will look with an exceedingly jaundiced eye upon future
              efforts to justify non-production of a Rule 16 or Jencks Act
              “statement” by reference to “departmental policy” or
              “established practice” or anything of the like. There simply is
              no longer any excuse for official ignorance regarding the
              mandate of the law. Where, as here, destruction is
              deliberate, sanctions will normally follow, irrespective of the
              perpetrator’s motivation, unless the government can bear the
              heavy burden of demonstrating that no prejudice resulted to
              the defendant. . . . We emphatically second the district
              court’s observation that any resulting costs in the form of
              added shelf space will be more than counterbalanced both
              by gains in the fairness of trials and also by the shielding of
              sound prosecutions from unnecessary obstacles to a
              conviction.

United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821

(1976).



              The government is hereby DIRECTED to maintain and preserve all

materials that are known by the government to exist, that constitute potential Jencks

material in this case.



              9.     Production of Grand Jury Minutes

              It is a long-established rule that “[t]he burden. . . is on the defense to show

that ‘a particularized need’ exists for the minutes [of the grand jury] which outweighs the

policy of secrecy.” Pittsburgh Plate Glass Co v. United States, 360 U.S. 395, 400

(1959). The assertion of the defendant as to her “particularized need” is legally

insufficient to require disclosure of the grand jury proceedings as requested by her. It is



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pointed out that transcripts of grand jury testimony of witnesses called by the

government to testify at trial must be made available to the defendant pursuant to and in

accordance with the provision of 18 U.S.C. § 3500.


              It is also pointed out that:
              [A]n indictment valid on its face is not subject to challenge on
              the ground that the grand jury acted on the basis of
              inadequate or incompetent evidence.

United States v. Calandra, 414 U.S. 338, 345 (1978).


              Furthermore,

              An indictment returned by a legally constituted and unbiased
              grand jury, like an information drawn by the prosecutor, if
              valid on its face, is enough to call for trial of the charge on
              the merits. The Fifth Amendment requires nothing more.

Costello v. United States, 350 U.S. 359, 363 (1956).


              Therefore, defendant’s request for disclosure of the grand jury

proceedings is DENIED.



              10.    Defendant’s Motion to Join in Co-Defendant’s Motions

              The defendant has also indicated that he joins in the motions filed by the

co-defendants in this case and seeks to obtain any benefits that may be applicable to

him as a result of said motions. This request is GRANTED with the further directive and

finding that the decision made by this Court as to each of the co-defendant’s requests

contained in their motion in which this defendant joins, shall also be deemed to be the

finding and Order of this Court as to the defendant herein.




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              11.    Defendant’s Request to Voir Dire Government Experts
                     Outside the Presence of the Jury
              The defendant requests an order pursuant to Rule 104 of the FRE

permitting him to “voir dire any proposed government experts at trial outside the

presence of the jury.” This motion is premature and is best left for determination by the

trial judge and therefore, said motion is DENIED with the right of the defendant to make

it de novo at the trial before the trial judge pursuant to Rule 104(a) FRE.




              12.    Defendant’s Request for an Audibility Hearing


              Counsel for the defendant and the government have advised the Court

that the audiotapes or CDs that may be used at trial by the government have not been

reviewed at this time for purposes of determining whether there are any actual audibility

problems or issues with respect to such tapes or CDs. Therefore, the defendant’s

motion in this regard is DENIED without prejudice with the right to reapply for such relief

after the tapes or CDs in question have been reviewed and it is determined that there is

an audibility issue that needs to be resolved by this Court. As part of this process,

counsel for the government is hereby directed to identify those tapes or CDs that the

government plans on using at the trial of the defendant and to have transcripts of those

tapes or CD recordings prepared. Once such transcripts have been prepared, counsel

for the government shall supply copies of the designated tapes or CDs and respective

transcripts to counsel for the defendant. Counsel for the defendant is hereby directed to

review the aforesaid tapes or CDs and transcripts after receipt of same, and upon

completion of such review, make known to counsel for the government those portions of


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the aforesaid tapes or CDs and transcripts that counsel for the defendant claims are

inaudible or, in the alternative, inaccurately transcribed. Thereafter, counsel for the

government and the defendant are directed to confer for the purpose of resolving any

disputes that may exist as to audibility of the tapes or CDs in question and the

correctness of the transcripts of such tapes or CDs. Should the attorneys be unable to

resolve any such disputes that may exist, counsel for the defendant may file a motion

for an audibility hearing, which motion must be filed and served within ten days after the

last conference between the attorneys seeking to resolve such issues.




              13.    Defendant’s Request for Permission to Make Other Motions


              The defendant requests permission to file additional motions “which may

be necessitated by due process of law, by the Court’s ruling on the relief sought herein,

by additional discovery provided by the government or investigation made by the

defense, and/or any information provided by the government in response to the

defendant’s demands.” (Dkt. #32, p. 40). This request is GRANTED subject to the

limitations as contained in the aforesaid quote.




              Government’s Request for Reciprocal Discovery


              The government has requested that the defendant permit it to inspect and

copy various books, records, documents, photos and other tangible objects, including

reports of physical or mental examinations and of scientific tests or experiments, within


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the possession or control of the defendant which the defendant intends to introduce as

evidence in chief at the trial along with written summaries of expert witnesses’ testimony

that the defendant intends to use. Since the defendant has moved pursuant to Rule

16(a)(1) of the Federal Rules of Criminal Procedure for similar materials and

information, the government is entitled to this information pursuant to Rule 16(b)(1) and

its request is GRANTED.




              It is hereby ORDERED pursuant to 28 U.S.C § 636(b)(1) that:




              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the Clerk

of this Court within fourteen (14) days after receipt of a copy of this Decision and Order

in accordance with the above statue, Fed.R.Crim.P. 58(g)(s) and Local Rule 58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).




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              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:        February 5, 2018
              Buffalo, New York




                                          _S/ H. Kenneth Schroeder, Jr. __
                                           H. KENNETH SCHROEDER, JR.
                                           United States Magistrate Judge




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